Case 09-10138-MFW Doc 4228-3 Filed 10/29/10 Page 1of12

Exhibit B

1a
Case 09-10138-MFW Doc 4228-3 Filed 10/29/10 Page 2 of 12

Ashurst LLP

In VO | ce . Broadwalk House

5 Appold Street

London

EC2A 2HA
The Official Unsecured Creditors Committee for Nortel Networks Inc hex a 0 me tags
c/o Akin Gump Strauss Hauer & Feld LUP www.ashurst.com
One Bryant Park ,
New. York, New York 10036 Our VAT No.: GB 243202411

United States of America

Interim (S)

VAT Invoice Date: 28 October 2010 Our Ref: GDB/CCNO1.00001 : Invoice No,: 297959
* VAT | Fees and”
VAT Rate Disbursements
GBP (%0)} . ° GBP

Re: BANKRUPTCY
To our professional fees (NT} 6.00 0.00 57,207.90

For the period to 30 September 2010, in connection with the above
matter, .

{Please see attached).

Document Production (NF) . 0.00 0.00 27,54

Disbursements: (NT)

Fares _ . . 9,00 0.00 151.61
0.06 57,386.15

VAT 0.00

Total 57,386.15

Balance Due 57,386.15

The fees and disbursements the subject of this Invoice may Include fees and disbursements due to another member of the Asfurst Group,

Payment Details : L j
NatWest - 15 Bishopsgate, London, EC2P 2AP - Account Ne.; 00404268 .
Sort Code: 50-00-00 - Swift Code: NWBKGB2L. - IBAN Code: GB12NWBKS50000000404268

Please quote reference 297959 when settiing this invoice

Payment Terms: 21 days

Legal services are 100% foreign source and 0% US source

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England and Wales. A list of members of Ashurst LLP and the non-members who are designated as partners and their professional quatifications is open to
Inspection at its registered office Broadwalk House, 5 Appold Street, London EC2A 2HA. The term ‘partner’ in relation to Ashurst LEP is used to refer to a member of
Ashurst LLP or to an employee or consultant with equivalent standing and qualifications. Ashurst LLP or an affillated undertaking has an office in each of the places
listed below. .

ABU DHABI SRUSSELS DUBAI FRANKFURT HONG KONG LONDON MADRID MILAN
MUNICH NEWYORK PARIS SINGAPORE STOCKHOLM TOKYO WASHINGTON BC -

Case 09-10138-MFW_ Doc 4228-3 Filed 10/29/10 Page 3 of 12

The Official Unsecured Creditors Committ
Re: BANKRUPTCY
GDB/GDB/CCNOL.00001

For the period: to 30/09/2010

Matter: CCN01.00001 - BANKRUPTCY

cooo3 Ashurst Fee Application /Monthty Billing Reports

. Time Agreed Rate Amount -
(Hrs ® Mins) (GBP /hour)
Associates
POR. ‘Paul Bagon , 11.00 350.00 "3,850.06 - :

Total 3,550.00

Detailed Time Ereakdown

Date Lawyer Action Narrative . Time Rate Amount
. (Hrs & Mins}

06/09/2010 Pau! Bagon LETT Interim fee app 6.36 359.00 175.00
07/09/2016 Paul Bagon DRFE Ashurst interim fee app and sending out. 112 359.00 420.00
16/09/2010 Paul Bagon : DRET Ashurst monthly fee app 2.30 350.00 875.00
17/09/2010 Paul Bagon Dast Ashurst fee app 3.00 350.00 1,056.00
20/09/2040 Paul Bagon DRFT Fee app 2.90 350.00 700,00
27/09/2020 Paul Bagon DRFT Finalising and sending out Ashurst fee app, 1.48 350,00 630.00

Reviewing interim fee order and send; ne

comments.

3,850.00

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Matter: CCN01.00001 - BANKRUPTCY

C0007 Creditors Committee Meetings

Time
{Hrs & Mins)

Senior Associate

LAR Luke Rolfason 1.00
Associates

PDB Pau! Bagon 4.18

Detailed Time Breakdown

2" Bate - Lawyer - Action Narrative
02/09/2010 Luke Roilason PHON Nortel committee call,
13/09/2010 Paul Sagan PHON UCC meeting re alacation.
17/09/2010 Paul Bagon PHOR UCC weekly meeting
30/09/2010 Paul Bagon PHON UCC weekly meeting.

Agreed Rate
{GBP /hour)

490,00
350.00
Total
Time | Rate -
’ (Hrs Mins)
1,00 490,90
2.30 350.00
1.00 350,00
0.45 350,00

Amount

490,06

1,505.00

1,995.00

Amount . .

490.00
* 875.00:

350.00

280.00

4,995.00
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Matter: CCN01.00001 - BANKRUPTCY

cooi2 General Claims Analysis/Claims Objections

Time
(Hrs & Mins)
Partner
AMP Angela Pearson 5.42
ERB Eric Bouffard 4.18
GDB Giles Boothman 2.18
NXG Nadine Gelli 0.42
Associates
PDB Paul Bagon : 6.54
Junior Asseciate
_ MVE- oi. Michelle Eqbosimba 24.18
’ professional Development
NZL Nathalie Legendre 13.00
Trainee —
‘'3VZB _- Victoire Binchet a 2.00

Agreed Rate
(GBP /hour)

625.00
625.00
650.00
600.00

356.06

290.00 :

485.00

185.00

Totat

Amount

3,562.50
2,687.50
1,495.00

420.00

. 2,415.00

* 7,047.00

. 6,305.00 .

© 370,00°" >

24,302.00

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Matter: CCN01.00001 - BANKRUPTCY

cooi2 G i Clal nalysis/Claims Objections
Time Agreed Rate Amount
{Hrs & Mins) (GBP /hour)

Detailed Time Breakdown

Date Lawyer Action Narrative Time Rate Amount
. {Hrs & Mins)

01/09/2010 Angela Pearson INTD Discussions with Michelle Egbosimba 0.18 625.00 187.50

01/09/2010 Angela Pearson READ Review docs In on factual issues; (transfer 1.06 625.00 687,50
Aricing atc).

61/09/2010 Michelle Eghosimba RSCH Case law re Nortet administration 0.42 290.00 203,00

62/09/2010 .... Angela Pearson LETT Eniall to Eric Bouffard - Paris office 1,06 625.00 -" 687,50-

O2/09/2610 . | Angela Pearson - READ Review articles; docs on establishing COMI in 1.00 625.00 . - $25.00.

. . uo . UK

02/05/2010- Angela Padrson - INTD Discussion with Michele Egbosimba . 0.18 625.00 . 8" 1B7.59 -

02/09/2010 : . Angela Pearson . LETT Email to Linktaters . 0.12 625.00 . 125,00 .

02/09/2010 Eric Bouffard - CASE Exam question AMP + rech 0.48 625.00 . -  +:. 500,00

oe : infraction/qualification possible ;
02/09/2010 .- Michelle Egbosimba = DRFT -. Drafting meme of advice re proprietary . 4.42 290.00 - 6 493.60 , ors
. : : claims/discussians with CTC

03/09/20 wo Angela Pearson LETT Ernalli to € Souffard 0.12 625.00 - 125.00

02/09/2010 oF Angela Pearson LETT Review email : 0.12 625.00 125.00

03/09/2010 Angela Pearson INTD Discussion with MVE 3.12 625.00 425.007

03/09/2010 - Angeta Pearson READ Review warning rotice re COMI transfer 1.06 625,00 687.50
pricing etc

03/09/2010 Eric Bouffard CASE CT AMP + insteucting BX 0,30 625.00 312,50

03/09/2010 Michelle Egbosimba DRFF Researching and drafting memo of advice re 2,12 290.00 638,00
proprietary claims/research

05/09/2010 Michelle Egbosimba DRFT Drafing jetter of advice in relation to 3.48 290.00 2,202.00
proprietary claims

06/09/2010 Eric Boulfard INTD Bise NZL {x2} + AKG 1.00 625.00 625.00

06/09/2010 Michelle £gbasimba PHON Discussions with PDG re proprietary claim O1Z 290.00 58,00

06/09/2010 Michelle Egbosimba =RSCH Research and emails re proprietary clalms 3.24 290.00 986.00

06/09/2010 Nadine Gelli DRFT INTO with NZL + review of mero + draft 0,42 600.00 420,00
comments re. fax notion of disguised
dividend, .

06/09/2610 Nathalie Legendre READ Review of the head of aims EMEA. Analysis 7.00 485.00 3,395.00

of the grounds for the claims drafted under
Engtish law and related research in both
Engush and Frerich kaw, Draft bullet points
memo describing the legal elements and tests
to be met for the sald claims to be

successfull,
95/09/2610 Paul Bagon INTD MVE re status of report re EMEA claims. 0.18 350,00 105.00
O7709/2016 Eric Bovffard CASE Disc NZL, amending + sending mémo 2.00 625,00 1,250.00
07/09/2010 Michelle Egbosimba LETT Emals/Calis re Nortel Judgement 0.30 290.00 145,00
07/09/2010 Michelle Egbosimba ORFF Amending letter of advice/research re 3,42 290.00 1,073.00
~ proprietary claims
07/09/2010 Nathalie Legendre = DRFT Continued analysis of the grounds for the _ §.00 485.00 2,425.90

claims Grafted under Engiish law and related
research in both English and French law.
Finalise drafting the bullet points memo
describing the lega? elernents anc tests to be
met for the said claims to be successfull,
Internat discussions with ERB and NXG

07/05/2029 Nathalie Legendre INTO Additional discussions with ERB. Review of 1,06 485.00 485.06
impact of misuse of corporate assets or
pawers. Draft section an misuse of corporate
assets and/or powers
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Matter: CCNO1.00001 - BANKRUPTCY

C0012 General Claims Analysis/Clal jections
Time
{Hrs & Mins)
08/09/2010 Gilles Boothman REAO Review/mark up heads of claim re. EMEA
08/09/2010 - Giles Boothman INTD A Pearsen/PDB re. EMEA proprietary claims
08/09/2010 Michelle Egbosirtba GRFT Drafting and researching proprietary claims
08/09/2010 Paul Bagon REAG Reviewing note re EMEA claims.
23/09/2010 Michelle EgbosImba PHON Call re sale praceed allocations
£3/09/2010 Paut Bagon READ Various emalls and Memo re proprietary
claims.
20/09/2010 Paul Bagon LETT Reviewing various documents re pensions and
. . EMEA claims.
24/05/2010 Giles Bocthman ATFO Call with Brad re, prop claims
24/09/2010 Michelle Egboslenba PHON Prep for and calf with Brad re Nortel,
hogs . oo. proprietary claims.
24/09/2010 Paul Bagon = READ Proceed allocation presentations.
24/09/2010 Paul Bagon PHON - AG, Fe proprietary claims.
27/09/2020 Victoire Binchet LETF Nortel - research: Receiving Instructions from
_ Michelle Egbasimba and compiling,a case list
of case law and legislatian on shadow .
directors,
‘28/09/2010 Michele Egbesimba =ORFT Nortel cases - shadow directors
: 30/09/2010 Giles Boothman Into Re. PPF litigation Angela/Paul/relaying ta

Akin,

Agreed Rate Amount

{GBP fhour)
1,60 656.00 650.00
0.30 650.00 325.00
5.30 290.00 1,595.00
1.00 350.00 350,00
1.12 290.00 348.00
1.00 350.00 350,00
2.30 350,00 875.00
0.18 680.00 195.00
1.00 290.00 . 290.90
1.18 350.00 455.00
0.48 350,00 280.00.
2.00 185.00 370.60
0.24 290.00 116.00”

0.30 650.00" 325,00

24,302.00

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Matter; CCN01.00001 - BANKRUPTCY

C0016

Partner
AMP

SEH
Associates
PDB

30/09/2010

30/09/2010
“30/09/2010

30/09/2010
30/09/2030

30/09/2010
30/09/2010
30/09/2010
30/09/2010
30/09/2010
30/09/2010

30/69/2010

Lift Stay Litigation

Angela Pearson

Steven Hull

Paul Bagon

. Angela Pearson

Angela Pearson

Angela Pearson

Angela Pearsen
Angela Pearsen

Angela Pearsan
Angela Pearson
Angela Pearson
Angela Pearson
Angela Pearson

Paul Bagan

Steven Hull

LETT

Time
{Hrs & Mins)

33.18
1.50

1.54

~ Telephone conversation with Wilberforce -
Chambers .

Review PR Website

Review press articles

- Telephone conversation with Herbert ‘Smith

Telephone conversation witiy Giles Boathinan

Telephone conversation with P Bagen

Telephone conversation with Linklaters

- Emails te Akin Gump

Telephone conversation with SEH
Emai to 6 Kahn

Reading reports re developments In UK courts
re extra-territorial FSDs, related emalls, calls
and Internal discussions.

Emalls with Angela Pearson, Giles Boothman
and retated parties regarding Lehman and
Nartel FSD challenges In the High Court;
review email correspondence between Paul
Bayon, Angela Pearson and Lisa Beckerman
of Akin Gump regarding same and review
emall from Angela Pearson and attached
notes re: same.

Agreed Rate Amaunt
(GBP. /hour)

625.60 20,812.50

625.00 937.50

350.00 665.00

Total 22,415.00

O12 625.00 125.00

O18 625,00 187,50

0.24 625.00 - 250.00

G.12 625.00 125.00

0.42 ° 625.06 * 125.06

0.12 625,00 125.00

0.30 625.00 * 312,50

1.60 625.00 625.00

9,12 625.00 125.00

0.12 625.00 125.00

1.54 350.00 665.60

0.36 475.60

625.00

22,415.00
Case 09-10138-MFW Doc 4228-3 Filed 10/29/10 Page 9 of 12

Matter: CCNO1.00001 - BANKRUPTCY

cooi16 Lift Stay Litigation

Detailed Time Breakdown

Bate Lawyer Action
02/09/2010 Steven Hull READ
06/09/2010 Angela Pearson INTD
06/09/2010 Angela Pearson iNTD
a6/o9/2010 Angela Pearson INTD
06/09/2010 Angela Pearson READ
07/09/2020 Angela Pearson READ
07/09/2010 Angela Pearson INTD
Q7/09/2010 Angela Pearson DRFT
-“pafooyzote- Angela Pearson DRET,
08/09/2010 Angela Pearson MISC
08/09/2010 Angela Pearson LEIT
08/09/2020 Angela Pearson INTD
08/09/2010 Angela Pearson DRFT
08/09/2016 Angela Pearsen JNTD
08/09/2010 Angela Pearson PHON
08/09/2010 Angela Pearson INTD
9/09/2010 Angels Pearson DRFT
09/09/2010 Angela Pearson inTo
09/09/2010 Angela Pearson INTD
43/09/2010 Angela Pearson LETT
13/09/2020 Angela Pearsori _ SEIT
16/09/2010 Angela Pearson READ
16/09/2010 Steven Hull READ
23/09/2010 Angela Pearson LETT
24/09/2010 Angela Pearson LETT
24/09/2010 Angela Pearson INTO
24/09/2010 Angela Pearson INTD
24/09/2010 Angela Pearson . DRFT
24/09/2010 Angela Pearson PHON
24/09/2010 Angela Pearson PRON
24/09/2010 Angela Pearson DRFT
24/09/2010 Steven Hull LETT

24/09/2020 Angela Pearson DRFT

Time
(Hrs & Mins)

Narrative

Review Joshua Sturm email and review
attached copy of committee's response to the
p's objection to the magistrate Judge's report
and recommendation,

Discussion with MVE

Email to Paris Office

Ernaill to MVE

Reviewing Warming Notice, etc. re: claim
Review MVE's note

Discussten with MVE

Amend note

- Review/amend rote from Paris office

Reviewing/amending/checking/research/etc,
for Nortel mémo

Email to Akin Gump
Email to Eric Boufford (Paris Office)

Review/Incorporete Giles Boothman's
comments

Discussion with MVE
Telephone conversation with PBagon

Telephone conversation with Giles Boothman

Review Nortel UK admin proceedings
transcript

Siscussion with MVE

Email to Paris Office

Email to P Sagen

Email to MVE

Review emall/doc

Review Lisa Beckerman email and review
attached request from LK Pensions Regulator

for leave to appeal to the Supreme Court of
Canada and review Angela Pearsan response.

Emails to Akin Gump

Emails Akin Gump

Discussion GRes Boothman . .
Pre-discussion with Michael

Review advice note

Telephone canversation with Akin Guinp
Message for Herbert Smith

Quick review of nate

Review Lisa Beckerman e-mail and review
attached rotice of application for teave to
appeal by UK Pensions Regulator and
memorandum of argument of UK Pensions
Regulator and e-mail correspondence giving

summary of same and review further e-mail
from Lisa Beckerman re. same

Review submission

Agreed Rate Amount
(GBP /bour)
Time Rate Amount
(Hrs ® Mins}
0.18 425.00 187.50
0.18 625.00 187,50
0.18 625.00 187.50
(0.42 625.06 125.00
2.00 625.00 1,250.00
1.09 625.00 625.00
0.30 625.00 | 312.50
* 4,00 * 625.00 * 2,500.00
e£00" 625.005 °.°  625.00--
7.30 625.00 4,687.50
O42 625.00 - 125.00
_ O42 625.00 125,00
0.18 625,00 187.50
0.48 625.00 500.00
0.12 625.00 425.60
0.36 625.00 375.00
2.48 625.00 4,750,00
0.12 625.00 125,00
0.12 625.00 125.00
0.12 625.00 425.00
0.12 625,00 125.00
0.24 625.00 - 750.00
0.06 625,00 62.50
0.18 625.00 187.50
0.12 625,00 425.00
0,12 625.00 125.00
0.30 625.00 312.50
0.30 625,00 312.50
1.30 625.00 937.50
0.12 625,00 125.90
0.18 625.00 187.50
0.30 625,60 312.50
2,00 625.00 1,250.00

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Matter: CCNO2.00001 - BANKRUPTCY

coo0ié

28/09/2010
30/09/2010
30/09/2010
30/09/2040

Lift Stay Litigation

Angela Pearson
Angela Pearson
Angela Pearson

Angela Pearson

Email to MVE
Emails GDB
Emails P Bagon

Ermatis SEH.

Time Agreed Rate ,
(Hrs & Mins) (GBP /hour)
0.12 625.00
0.30 625.00
0.12 625.00
0.12 625.00

Amount

125.60
712.50
£25.00
$25.00
Case 09-10138-MFW Doc 4228-3 Filed 10/29/10 Page 11 of 12

Matter: CCNO01.00001 - BANKRUPTCY

co024 Asset/Stock Transaction/Business Liquidations
, Time
(Hrs & Mins)

Associates /
AYP Anna Patashnik 0,12
PDB Paul Bagon 5.30

Detailed Time Breakdown

Date Lawyer Action Narrative

21/09/2610 Anna Patashnik WT Discussion with Paul Grown regarding TUPE
21/09/2010 Paul Bagon . READ Pluto bid docs,

22/09/2010 Pant Begon : READ Pluto docs,

22/09/2010 Paui Bagon : PHON Pluto call re sale

Agreed Rate
(GBP /hour)

350.00
350,00
Total
Time Rate -
(Hrs & Mins)
0.12 350.00
3.00 350,00°
1.00 350.00 .
1.30 350,00

Amount

70.00
1,925.00

1,995.00

Amount

70.00
1,050.06
. 350,00

525.00

1,995.00

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Matter: CCNO1.00001 - BANKRUPTCY

coo3i European Proceedin tters
Time
(Hrs & Mins}
Partner
GDB Giles Boothman 0,12
Associates
PDB Paul Bagon 7,12

Detailed Time Breakdown

Date - ‘Lawyer Action = Narrative

5/05/2010 - Paul Bagon LEFT Various emails.

o9/ag/z010, = Paul Bagon ~ LETT Various emails.
14/09/2016 Paul Bégon INTD “LAR - update re alecation Issues.
16/09/2016 Paul Bagon PHON Professionals pre-cail
16/09/2010 , Paul Bagen READ Various court filings

22/09/2010 ~~ Paul Bagon LETT Various emails,

24/09/20 1 Glles Saothman INTD Angela, Paut

28/09/2010 Paul Bagon LETT Varlous ematls.

29/09/2010 Paul Bagon PHON Professionals’ pre-call.

Agreed Rate
(GBP /hour)

650.00

350.00

Time
(His & Mins)

1.00
0.30
0,30
0.24
2.30
6.48
G.42
0.48

9.42

Totai

Rate. .

356.00 - ..
350,00 -

350.00: °

350.00
350.00
350.00
650.00
350.60

350.00

Amount

130.00

2,520.00

2,650.00

Amount.-" 7°

356:00 0.
175.00: +"

175.00 |

140.00 -
* 875,00
289.00
2H).00
260.00

245.00

2,659.00
